Case 2:O4-cv-O2617-SHI\/|-dkv Document 22 Filed 06/27/05 Page 1 of 2 Page|D 35

THE UNITED sTATES DISTRICT COURT Fll-’\"~~= ‘f'
WESTERN DISTRICT OF TENNESSEE

 

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PRODUCTS, INC., )
)
Plaimiff, ) cASE No. 04-2617 Ma v
)
v. )
)
PENNSYLVANIA MANUFACTURERS’ )
ASSOCIATION INSURANCE COMPANY, )
)
Defendant. )
0RDER EXTENDING TIME

For good cause shown, the time within which Plaintiff may serve its responses to
Defendant’s First Set of Interrogatories and Requests for Production of Documents is extended to
and including July 22, 2005.

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This theg_ day of Ju.ne, 2005.

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June 29, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

